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                               UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

     NIKITA VAN GOFFNEY,                           §
           Plaintiff                               §
                                                   §
     VS.                                           §     CIVIL ACTION NO.: 4:02-cv-02638
                                                   §
     J. SAUCEDA, et al.,                           §
             Defendants                            §

            DEFENDANTS’ NOTICE OF SUPPLEMENTAL SERVICE EFFORTS

1.         On June 17, 2022, Defendants’ counsel appeared before the Court. [Doc. Nos. 350,

351]. Plaintiff did not appear for that hearing.

2.         On June 17, 2022, the Court sent to the parties notice of the hearing, rescheduled

for July 13, 2022. [Doc. No. 352].

3.         In addition to the notice of hearing for July 13, 2022 the Court provided to the

Plaintiff directly, Defendants provided further notice of the hearing [Doc. 352] to Plaintiff

at the following locations through the following means:

           By United States Postal Service certified mail No. 70042510000447674124,
           postage pre-paid on June 21, 2022 to 131 Aldine Bender Rd. # 2208,
           Houston, Texas 77060, the address Plaintiff identified in his August 18, 2020
           Notice of Change of Address. [Doc. 345]. The United States Postal Service
           reported its attempt to deliver the notice on June 23, 2022 at 5:58 p.m. was
           unsuccessful. See Exhibit A, attached. On June 27, 2022, Defendants’
           counsel requested the Postal Service re-attempt delivery. On July 8, 2022 the
           Postal Service could not deliver the notice.

           Via FedEx priority overnight delivery, tracking number 0201275298110540,
           on July 8, 2022 to 131 Aldine Bender Rd. # 2208, Houston, Texas 77060.
           FedEx reports it delivered the package with the Court’s notice on July 11,
           2022 at 8:39 a.m., at this address. See Exhibit B, attached.

           By United States Postal Service certified mail No. 70042510000447674131,
           postage pre-paid on June 21, 2022, to 4403 Brandemere Way St. in Houston,


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         Texas 77066, the address Plaintiff identified on November 19, 2021 in the
         signature block on Plaintiff’s request for a hearing and request the Court rule
         on Plaintiff’s motion for injunctive relief. [Doc. 347]. The United States
         Postal Service reports it delivered that notice on June 23, 2022 at 12:47 p.m.
         See Exhibit C, attached.

         Via FedEx priority overnight delivery, tracking number 0201275298237089
         on July 8, 2022 to 4403 Brandemere Way St. in Houston, Texas 77066.
         FedEx reports it delivered the package with the Court’s notice on July 11,
         2022 at 8:42 a.m., at this address. See Exhibit D. attached.

                                                    Respectfully submitted,
                                            By:     /s/ Norman Ray Giles
                                                    William S. Helfand
                                                    Attorney-in-charge
                                                    SBOT: 09388250
                                                    Norman Ray Giles
                                                    SBOT: 24014084

OF COUNSEL:
LEWIS BRISBOIS BISGAARD & SMITH, LLP
24 Greenway Plaza, Suite 1400
Houston, Texas 77046
Telephone: (713) 659-6767
ATTORNEYS FOR DEFENDANTS

                                CERTIFICATE OF SERVICE

         I certify I served a true and correct copy of the foregoing on the Plaintiff Nikita

Goffney, pro se by certified mail return receipt requested on July 12, 2022 as follows:

4403 Brandemere Way St.
Houston, Texas 77066
CMRRR No. 70042510000447674193
and
131 Aldine Bender Rd. # 2208
Houston, Texas 77060
CMRRR No. 70042510000447674209
                                                    /s/ Norman Ray Giles
                                                    Norman R. Giles


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